                Case 16-10597-MFW               Doc 631       Filed 06/12/18         Page 1 of 3




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                             )
In re:                                                       )         Chapter 11
                                                             )
ASPECT SOFTWARE PARENT, INC., et al.,1                       )         Case No. 16-10597 (MFW )
                                                             )
                          Reorganized Debtors.               )         (Jointly Administered)
                                                             )
                                                             )         Re: Docket No. 627

                   FINAL DECREE CLOSING CERTAIN CHAPTER 11 CASES

         Upon the motion (the “Motion”)2 of the above-captioned reorganized debtors

(collectively, the “Reorganized Debtors”) for entry of this order (this “Final Decree”) closing the

Fully Administered Cases, all as more fully set forth in the Motion; and this Court having

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

Order of Reference from the United States District Court for the District of Delaware, dated

February 29, 2012; and this Court having found that this is a core proceeding pursuant to

28 U.S.C. § 157(b)(2), and that this Court may enter a final order consistent with Article III of

the United States Constitution; and this Court having found that venue of this proceeding and the

Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having

found that the Reorganized Debtors’ notice of the Motion and opportunity for a hearing on the

Motion were appropriate and no other notice need be provided; and this Court having reviewed

the Motion; and this Court having determined that the legal and factual bases set forth in the

1
    The Reorganized Debtors in these chapter 11 cases, along with the last four digits of each Reorganized Debtor’s
    federal tax identification number, include: Aspect Software Parent, Inc. (3231); Aspect Software, Inc. (4368);
    VoiceObjects Holdings Inc. (0138); Voxeo Plaza Ten, LLC (7028); and Davox International Holdings, LLC
    (1081). The location of parent Reorganized Debtor Aspect Software Parent, Inc.’s corporate headquarters and
    the Reorganized Debtors’ service address is: 2325 E. Camelback Road, Suite 700, Phoenix, Arizona, 85016.
2
    All capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Motion.




PHIL1 7022960v.3
               Case 16-10597-MFW            Doc 631     Filed 06/12/18    Page 2 of 3




Motion establish just cause for the relief granted herein; and upon all of the proceedings had

before this Court; and after due deliberation and sufficient cause appearing therefor, it is

HEREBY ORDERED THAT:

         1.        The Motion is granted to the extent provided herein.

         2.        The chapter 11 cases of the four (4) Debtors identified on Exhibit 1 attached

hereto—the Fully Administered Cases—are hereby closed; provided, however, that the Court shall

retain jurisdiction as is provided for in Article X of the Plan (Retention of Jurisdiction).

         3.        The chapter 11 case of Aspect Software, Inc., case number 16-10598 shall remain

open.

         4.        The reporting requirement of Local Rule 3022-1(c) is waived with respect to the

Fully Administered Cases and the Reorganized Debtors shall include the information with

respect to the Fully Administered Cases with the final report filed in the case of Aspect Software,

Inc., case number 16-10598, when such final report is filed.

         5.        A copy of this Final Decree shall be entered in each of the Fully Administered

Cases.

         6.        Entry of this Final Decree is without prejudice to the rights of the Reorganized

Debtors or any party in interest to seek to reopen the Fully Administered Cases for cause.

         7.        The Reorganized Debtors are authorized to take all actions necessary to effectuate

the relief granted pursuant to this Final Decree in accordance with the Motion.

         8.        Notwithstanding the possible applicability of Bankruptcy Rules 6004(h), 7062,

9014 or otherwise, this Final Decree shall be immediately effective and enforceable upon its

entry.




                                                   2

PHIL1 7022960v.3
              Case 16-10597-MFW          Doc 631     Filed 06/12/18     Page 3 of 3




       9.      The Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this Final Decree.




        Dated: June 12th, 2018
                                                 3
        Wilmington, Delaware                          MARY F. WALRATH
PHIL1 7022960v.3                                      UNITED STATES BANKRUPTCY JUDGE
